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10
                            UNITED STATES DISTRICT COURT
11
                        SOUTHERN DISTRICT OF CALIFORNIA
12
13   DEANNA CASON, an individual,               Case No.: '17CV0496 AJB NLS

14             Plaintiff,
15   v.                                         COMPLAINT FOR DAMAGES
                                                FOR VIOLATIONS OF:
16
     EQUIFAX INC.; TRANS UNION LLC;
17   and EXPERIAN INFORMATION                   1. THE FAIR CREDIT
18   SOLUTIONS, INC.                               REPORTING ACT, 15 U.S.C. §§
                                                   1681, ET SEQ.
19             Defendants.
20                                              [JURY TRIAL DEMANDED]
21                                  INTRODUCTION
22   1.   Plaintiff DEANNA CASON (“Plaintiff”), through her attorneys, files this
23        Complaint and brings this action against Defendants EQUIFAX INC.
24        (“Equifax”), TRANS UNION LLC (“Trans Union”), and EXPERIAN
25        INFORMATION           SOLUTIONS,        INC.    (“Experian”)     (collectively,
26        “Defendants”) with regard to Defendants’ reporting of erroneous negative and
27
          derogatory reports to Plaintiff’s credit report, as that term is defined by 15
28

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 1        U.S.C. § 1681a(g). Defendants’ willful and negligent failure to properly
 2        investigate the dispute of Plaintiff concerning the inaccurate data Defendants
 3        are reporting in Plaintiff’s file, and Defendants’ failure to correct such, which
 4        Defendants knew or should have known were erroneous, caused Plaintiff
 5
          damages.
 6
     2.   Plaintiff makes these allegations on information and belief, with the exception
 7
          of allegations that pertain to Plaintiff, or to Plaintiff’s counsel, which Plaintiff
 8
          alleges on personal knowledge.
 9
     3.   While violations are described below with specificity, this Complaint alleges
10
          violations of the statutes cited in their entirety.
11
12
     4.   Unless otherwise stated, Plaintiff alleges that any violations by Defendants

13        were knowing and intentional, and that Defendants did not maintain
14        procedures reasonably adapted to avoid any such violation.
15   5.   Unless otherwise indicated, the use of Defendants’ names in this Complaint
16        includes all agents, employees, officers, members, directors, heirs, successors,
17        assigns, principals, trustees, sureties, subrogees, representatives, and insurers
18        of Defendants.
19   6.   Unless otherwise stated, all the conduct engaged in by Defendants occurred in
20        California.
21
                                JURISDICTION AND VENUE
22
     7.   Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331 and 15 U.S.C. §
23
          1681i.
24
     8.   This action arises out of Defendants’ violation of the Fair Credit Reporting
25
          Act (“FCRA”), 15 U.S.C. §§ 1681 et seq.
26
     9.   Because Defendants conduct business within the State of California, personal
27
28
          jurisdiction is established.

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 1   10. Venue is proper pursuant to 28 U.S.C. § 1391.
 2                                       PARTIES
 3   11. Plaintiff is a natural person who resides in the County of San Diego, in the
 4       State of California.
 5
     12. Plaintiff is a "consumer," as defined by 15 U.S.C. § 1681a(c).
 6
     13. Defendant Equifax is a "consumer reporting agency” as defined by 15 U.S.C.
 7
         §1681a(f).
 8
     14. Defendant Equifax is a corporation incorporated in the State of Georgia.
 9
     15. Defendant Trans Union is a "consumer reporting agency” as defined by 15
10
         U.S.C. §1681a(f).
11
12
     16. Defendant Trans Union is a limited liability company organized in the State of

13       Delaware.
14   17. Defendant Experian is a “consumer reporting agency” as defined by 15 U.S.C.
15       §1681a(f).
16   18. Defendant Experian is a corporation incorporated in the State of Ohio.
17                       GENERAL FACTUAL ALLEGATIONS
18   19. At all times relevant to this matter, Plaintiff was an individual residing within
19       the State of California.
20   20. At all times relevant to this matter, Defendants conducted business within the
21
         State of California.
22
                      FACTUAL ALLEGATIONS RE: MACYS/DNSB
23
                                         (49007039xxxx)
24
     21. On or about November 9, 2016, Plaintiff became aware that Defendants
25
         Experian, Equifax and Trans Union were reporting a continuing obligation
26
         owed to Macy’s/DNSB (“Macys”) on Plaintiff’s credit report.
27
28
     22. On Plaintiff’s credit report, Defendant Equifax is reporting this obligation

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 1       owed to Macy’s/DSNB with a status of “Charge-off,” a balance of $707 and
 2       an amount past due of $707, despite the fact that Plaintiff entered into a
 3       settlement agreement with Macy’s through its counsel Hunt & Henrique to
 4       settle the account in full.     Defendant Equifax is reporting the settlement
 5
         payment as paid in June 2015, which was two (2) months after Plaintiff
 6
         actually made the settlement payment. Additionally, there is no mention of
 7
         the settlement in this tradeline.
 8
     23. On Plaintiff’s credit report, Defendant Experian is reporting this obligation
 9
         owed to Macy’s with a status of “Account charged off. $2,831 written off.
10
         $707 past due as of Dec 2016,” and a recent balance of “$707 as of Dec
11
12
         2016,” despite the fact that Plaintiff entered into a settlement agreement with

13       Macy’s through its counsel Hunt & Henrique to settle the account in full.
14       Additionally, there is no mention of the settlement in this tradeline.
15   24. On Plaintiff’s credit report, Defendant Trans Union is reporting this obligation
16       owed to DSNB/Macy’s with a status of “Charged Off,” a balance reported in
17       October 2016 of “$707,” remarks of “Unpaid Balance Charged Off,” and
18       “high balance of $3,394 from 06/2015; $3,394 from 01/2016 to 10/2016,”
19       despite the fact that Plaintiff entered into a settlement agreement with Macy’s
20       through its counsel Hunt & Henrique to settle the account in full, and made
21
         the settlement payment prior to June of 2015.         Additionally, there is no
22
         mention of the settlement in this tradeline.
23
     25. Subsequently, on or about December 5, 2016, Plaintiff disputed this alleged
24
         obligation on Plaintiff’s credit reports with Defendants via written
25
         communications.
26
     26. Defendant Trans Union, upon receiving notice of Plaintiff’s dispute, failed to
27
         respond entirely with respect to the disputed information as required by the
28

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 1       FCRA.
 2   27. Defendants failed to conduct a reasonable investigation with respect to the
 3       disputed information, as required by 15 U.S.C. § 1681i, which requires credit
 4       agencies to conduct a reasonable investigation to determine whether the
 5
         disputed information is inaccurate and record the current status of the disputed
 6
         information following a dispute filed with Defendants by Plaintiff.
 7
     28. Defendants’ conduct is also in violation of 15 U.S.C. § 1681e, which requires
 8
         the “maximum possible accuracy of the information” be contained in
 9
         consumer’s credit reports.
10
     29. By inaccurately reporting account information relating to the debt after notice
11
         and confirmation of its errors, Defendants failed to take the appropriate
12
13       measures pursuant to 15 U.S.C. §§ 1681-s(2)(b)(1)(D) and (E).

14   30. As a result of Defendants’ action and inaction, Plaintiff has suffered damage
15       by loss of credit, loss of ability to purchase and benefit from credit, increased
16       costs for credit, mental and emotional pain and anguish, and humiliation and
17       embarrassment of credit denials. Plaintiff has further spent countless hours
18       and suffered pecuniary loss in attempting to correct Defendants’ inaccurate
19       and derogatory information, without success.
20                                 CAUSE OF ACTION
21
               VIOLATION OF THE FAIR CREDIT REPORTING ACT
22
                                15 U.S.C. §§ 1681 ET SEQ.
23
                            [AGAINST ALL DEFENDANTS]
24
     31. Plaintiff incorporates by reference all of the above paragraphs of this
25
         Complaint as though fully set forth herein.
26
     32. Defendants willfully, recklessly, and negligently violated provisions of the
27
         FCRA.
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 1   33. Defendants’ violations include, but are not limited to, Defendants’ violation of
 2       15 U.S.C. § 1681i, by failing to conduct a reasonable investigation to
 3       determine whether the disputed information is inaccurate and record the
 4       current status of the disputed information following a dispute filed with
 5
         Defendants by Plaintiff.
 6
     34. Defendants’ conduct also violates 15 U.S.C. § 1681e, which requires the
 7
         “maximum possible accuracy of the information” be contained in consumers’
 8
         credit reports.
 9
     35. As a result of each and every negligent violation of the FCRA, Defendants are
10
         liable to Plaintiff in the sum of Plaintiff’s actual damages pursuant to 15
11
12
         U.S.C. § 1681o(a)(1), and reasonable attorney’s fees and costs pursuant to 15

13       U.S.C. § 1681o(a)(2).
14   36. As a result of each and every willful violation of the FCRA, Plaintiff is
15       entitled to actual damages, or damages of not less than $100.00 and not more
16       than $1,000.00, and such amount as the Court may allow, pursuant to 15
17       U.S.C. § 1681n(a)(1)(A), punitive damages as the court may allow pursuant to
18       15 U.S.C. § 1681n(a)(2), and reasonable attorney’s fees and costs pursuant to
19       15 U.S.C §1681n(a)(3).
20                                PRAYER FOR RELIEF
21
     WHEREFORE, Plaintiff prays that judgment be entered against Defendants:
22
     37. For each incident of willful noncompliance:
23
              A. An award of actual damages in an amount to be determined at trial, or
24
                 damages of $1,000.00 pursuant to 15 U.S.C. § 1681n(a)(1)(A) against
25
                 each Defendant for each incident of willful non-compliance of the
26
                 FCRA;
27
28
              B. An award of punitive damages as the Court may allow pursuant to 15

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 1              U.S.C. § 1681n(a)(3) against Defendants for each incident of willful
 2              noncompliance of the FCRA;
 3           C. An award for costs and reasonable attorney’s fees pursuant to 15
 4              U.S.C. § 1681n(a)(3) against Defendants for each incident of
 5
                negligent noncompliance of the FCRA;
 6
             D. An award of actual damages in an amount to be determined at trial
 7
                pursuant to 15 U.S.C. § 1681o(a)(1) against Defendants for each
 8
                incident of negligent noncompliance of the FCRA;
 9
             E. Any and all other relief the Court deems just and proper.
10
11   Dated: March 10, 2017                       Respectfully submitted,
                                                 HOFFMAN & FORDE
12
13                                                    /s/ Erica J. Sullivan ___
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 1                                    TRIAL BY JURY
 2   38.   Pursuant to the Seventh Amendment to the Constitution of the United States
 3         of America, Plaintiff is entitled to, and respectfully demands, a trial by jury.
 4
     Dated: March 10, 2017                          Respectfully submitted,
 5                                                  HOFFMAN & FORDE
 6
                                                         /s/ Erica J. Sullivan ___
 7
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